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 4
 5                      IN THE UNITED STATES DISTRICT COURT
 6                     FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
     DAVID FABBRINI,                        )
 8                                          )    2:07-cv-01099-GEB-CMK
                     Plaintiff,             )
 9                                          )
               v.                           )    ORDER
10                                          )
     CITY OF DUNSMUIR, JOHN FISHER,         )
11   BILL SANFORD, and KEITH                )
     ANDERSON,                              )
12                                          )
                   Defendants.              )
13   ________________________________       )
14
15              No later than March 18, 2011, each party has leave to file a

16   brief and/or proposed order concerning the Ninth Circuit’s Mandate filed

17   March 7, 2011. Any responsive filing may be filed no later than March

18   25, 2011. The parties should discuss the mandate before any filing for

19   the purpose of determining whether arrangement can be reached that is

20   consistent with the mandate.

21              IT IS SO ORDERED.

22   Dated:   March 8, 2011
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24                                    GARLAND E. BURRELL, JR.
                                      United States District Judge
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